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              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE


  ALNYLAM PHARMACEUTICALS,
  INC.,

             Plaintiff,
                                       Civil Action No. 22-cv-00336-CFC
             v.

  PFIZER INC., UPJOHN CO. LLC,
  BIONTECH SE AND BIONTECH
  MANUFACTURING GMBH,

             Defendants.


  ALNYLAM PHARMACEUTICALS,
  INC.,

             Plaintiff,
                                       Civil Action No. 22-cv-00924-CFC
             v.

  PFIZER INC., UPJOHN CO. LLC,
  BIONTECH SE AND BIONTECH
  MANUFACTURING GMBH,

             Defendants.


                  PROPOSED STIPULATION AND ORDER
                   REGARDING CASE CONSOLIDATION

     The parties, Alnylam Pharmaceuticals, Inc. (“Alnylam”) and Pfizer Inc. and

Upjohn Co. LLC (collectively, “Pfizer”), and BioNTech SE and BioNTech
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Manufacturing GmbH (collectively, “BioNTech”), by and through their undersigned

counsel, hereby stipulate as follows:

      WHEREAS Alnylam filed Civil Action No. 22-cv-00336-CFC (the “-336

Action”) on March 17, 2022 against Pfizer;

      WHEREAS Pfizer answered, BioNTech voluntarily appeared, and Pfizer and

BioNTech counterclaimed on May 27, 2022 (D.I. 13);

      WHEREAS Alnylam answered the counterclaims and pled additional

counterclaims against BioNTech on June 10, 2022 (D.I. 17);

      WHEREAS BioNTech answered the counterclaims against it on July 1, 2022

(D.I. 19);

      WHEREAS Alnylam filed Civil Action No. 22-cv-00924-CFC (the “-924

Action”) on July 12, 2022 against Pfizer and BioNTech;

      WHEREAS BioNTech has agreed to waive service, is voluntarily appearing

by way of this stipulation request, and will answer or otherwise respond to the

Complaint in the -924 Action by September 12, 2022;

      WHEREAS Alnylam served Pfizer and Alnylam has agreed to an extension

of Pfizer’s time to answer or otherwise respond to the Complaint in the -924 Action

by September 12, 2022;

      WHEREAS, the -336 and -924 Actions involve common issues and

consolidation will enable more efficient case management by the Court and avoid


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unnecessary costs and delays by avoiding duplicative discovery and motion practice

in each case;

      WHEREAS, the parties agree that the -336 and -924 Actions should be

consolidated for all purposes, including Markman proceedings and trial;

      IT IS HEREBY STIPULATED AND AGREED, subject to the approval of

the Court, that:

      1.        Pursuant to Federal Rule of Civil Procedure 42(a), the -336 Action and

the -924 Action are consolidated for all purposes;

      2.        The -336 Action shall be the lead case, and all future filings shall be

made only in the -336 Action;

      3.        Pfizer and BioNTech shall answer or otherwise respond to the

Complaint in the -924 Action by September 12, 2022; and

      4.        All future filings shall include the following caption:


  ALNYLAM PHARMACEUTICALS,
  INC.,

                   Plaintiff,
                                                 Civil Action No. 22-cv-00336-CFC
                   v.                            (CONSOLIDATED)

  PFIZER INC., UPJOHN CO. LLC,
  BIONTECH SE, AND BIONTECH
  MANUFACTURING GMBH,

                   Defendants.


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                 SO ORDERED this ___ day of ________________, 2022.


                       _____________________________________
                       CHIEF, UNITED STATES DISTRICT JUDGE




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